                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:09-cr-123-004
 v.                                                    )
                                                       )       COLLIER / LEE
 RICHARD HUGHES                                        )
                                                       )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Counts One and Sixty-five of the

 one hundred and twenty-three-count Indictment; (2) accept Defendant’s plea of guilty to the lesser

 included offense of the charge in Count One, that is of conspiracy to manufacture, distribute and

 possess with intent to distribute fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and

 841(b)(1)(B) and Count Sixty-five, that is of possession of a firearm in furtherance of drug

 trafficking crimes in violation of 18 U.S.C. § 924(c)(1)(A); (3) adjudicate Defendant guilty of the

 lesser included offense of the charge in Count One, that is of conspiracy to manufacture, distribute

 and possess with intent to distribute fifty (50) grams or more of a mixture and substance containing

 a detectable amount of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and

 841(b)(1)(B) and Count Sixty-five, that is of possession of a firearm in furtherance of drug

 trafficking crimes in violation of 18 U.S.C. § 924(c)(1)(A); (4) defer a decision on whether to accept

 the plea agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing

 in this matter (Court File No. 221). Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s



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 report and recommendation (Court File No. 221) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

        (1)    Defendant’s motion to withdraw his not guilty plea to Counts One and Sixty-five of

               the Indictment is GRANTED;

        (2)    Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

               that is of conspiracy to manufacture, distribute and possess with intent to distribute

               fifty (50) grams or more of a mixture and substance containing a detectable amount

               of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B)

               and Count Sixty-five, that is of possession of a firearm in furtherance of drug

               trafficking crimes in violation of 18 U.S.C. § 924(c)(1)(A) is ACCEPTED;

        (3)    Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

               in Count One, that is of conspiracy to manufacture, distribute and possess with intent

               to distribute fifty (50) grams or more of a mixture and substance containing a

               detectable amount of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1),

               and 841(b)(1)(B) and Count Sixty-five, that is of possession of a firearm in

               furtherance of drug trafficking crimes in violation of 18 U.S.C. § 924(c)(1)(A);

        (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

               and

        (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

               scheduled to take place on Thursday, March 4, 2010 at 9:00 a.m. before the

               Honorable Curtis L. Collier.

        SO ORDERED.


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       ENTER:


                                   /s/
                                   CURTIS L. COLLIER
                                   CHIEF UNITED STATES DISTRICT JUDGE




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